Case 4:20-cv-12007-MFL-DRG ECF No. 1-2, PageID.8 Filed 07/28/20 Page 1 of 5




             Exhibit A
      Case 4:20-cv-12007-MFL-DRG ECF No. 1-2, PageID.9 Filed 07/28/20 Page 2 of 5




                                          STATE OF MICHIGAN

                    IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND

        MARY AMATO
                                                                      Case No. 20-              -NO
                        Plaintiff,                                    Hon.
~                                                              2020-182220-NO
C       V.
~                                                              JUDGE D. LANGFORD MORRIS
~
0       MAGGIANO'S HOLDING CORPORATION,
~       MAGGIANO'S/CORNER BAKERY HOLDING CORPORATION,
0       AND MAGGIANO'S LITTLE ITALY,
N
0
N
~
0                       Defendants.
~
ti
        Samantha E. Draugelis (P75754)
        Nicholas T_ Draugelis (P75883)
        DRAUGELIS & DRAUGELIS, PLLC                         This case has been designated as an
        Attorneys for Plaintiff                             eFiling case. To review a copy of the
        25615 Jefferson Ave.
                                                            Notice of Mandatory eFiling visit
        St Clair Shores, MI 48081
                                                            www.oakgov.com/efiling.
        (313) 251-6606 // (313) 731-0390 (f)
        samna.DandDLawFirm.com


C~~                                            COMPLAINT

             There is no other pending or resolved civil action arising out of the transaction or
                                   occurrence alleged in the complaint.

                                         /s/ Samantha E. Drau elis
                                        Samantha E. Draugelis, Esq.


                NOW COlVIES Plaintiff, MARY AMATO, by and through counsel,
~,

r)      DRAUGELIS & DRAUGELIS, PLLC, and for her Complaint hereby states as follows:
W
J
71                                    COMMON ALLEGATIONS

             l. Plaintiff is a resident of Macomb County, Michigan.




                                                                                                    1
Case 4:20-cv-12007-MFL-DRG ECF No. 1-2, PageID.10 Filed 07/28/20 Page 3 of 5




     2. Upon information and belief, the above-named Defendants (referred to hereafter

         in the singular) are foreign corporations which conduct business in Michigan

         including in Oakland County.

     3. The incident at issue occurred at a restaurant known as Maggiano's Little Italy

         believed to be owned and operated by Defendants in Oakland County, Michigan,

         located at 2089 W Big Beaver Road Troy, Michigan 48084, on or about August

        27, 2017.

     4. The amount in controversy is in excess of $25,000.

                               COUNT I - NEGLIGENCE

     5. Plaintiff incorporates by reference paragraphs 1 through 4.

     6. On or about August 27, 2017, Plaintiff was an invitee on property which was,

        upon information and belief, owned andlor leased and/or operated by Defendant

        and which was under the care and control of Defendant.

     7. On the aforesaid date, Plaintiff was walking near the exterior of the building

        which was under the care and control of Defendant at the direction and/or

        suggestion of an agent of Defendant.

     8. Due to Defendant's failure to ensure proper lighting in the area, and, due to other

        failures as referenced herein and which may become known throughout the course

        of discovery, Plaintiff was unable to properly see the area where she was told she

        could walk.

     9. Plaintiff fell to the ground after losing her footing due to her inability to see

        and/or for other reasons which may be discussed during discovery.




                                                                                         2
Case 4:20-cv-12007-MFL-DRG ECF No. 1-2, PageID.11 Filed 07/28/20 Page 4 of 5




     10.     As a result of the aforesaid occurrence, Defendant breached its duties and was

           negligent in one or more of the following ways:

                  a. failing to maintain the premises in a reasonably safe condition;

                  b. failing to adequately inspect, test, evaluate, and/or assess the premises
                     for hazards, including ensuring that customers at the movie theaters
                     were safe;

                  c. failing to warn, advise, and/or instruct Plaintiff of the danger of the
                     hazard on which she fell;

                  d. failing to perform necessary cleaning activity after having actual and/or
                     constructive knowledge of the existence of the hazard and the need to
                     make necessary repairs;

                  e. failing to safely construct and/or design and/or maintain the area in
                     which customers, including Plaintiff, walked;

                  f. failing to properly light the walknvays on Defendant's properry and/or
                     failing to light areas which Defendant knew or should have known
                     would be traversed by Plaintiff and/or other invitees;

                  g. other duties which may become known through the course of discovery.

     11. One or more of Defendant's negligent acts or omissions was a legal and

           proximate cause of Plaintiff's fall and the injuries and damages which resulted.

     12. Defendant's negligence was the legal and proximate cause of injury to Plaintiff's

           body, including without limitation, to her hip, legs, and other areas of her body, as

           well as mental anguish, frustration, and other dainages and injuries.

     13. As a result of Defendant's negligence, Plaintiff has and will in the future incur

           expenses for medical care, services, and supplies, and for inonitoring of her

           condition, lost wages, and other economic damages.




                                                                                              3
Case 4:20-cv-12007-MFL-DRG ECF No. 1-2, PageID.12 Filed 07/28/20 Page 5 of 5




      WHEREFORE, Plaintiff respectfully requests that this court award damages that

   will fully and fairly compensate her for her injuries, losses, and damages, both economic

   and non-economic, in excess of $25,000, plus costs, interest, attorney fees, and any other

   remedy deemed just.

                                               Respectfully submitted,
                                               DRAUGELIS & DRAUGELIS, PLLC
                                               A ttorneysfor Plaintiff

                                        BY:    /s/ Samantha E. Draugelis
                                               Samantha E. Draugelis (P75754)
                                               Nicholas T. Draugelis (P75883)
                                               25615 Jefferson Ave.
                                               St Clair Shores, MI 48081
                                               (313) 251-6606
                                               samaDandDLawFirm.com
      Dated: June 8, 2020




                                                                                           2
